
*1200OPINION.
Trammell:
The taxpayer has failed to produce evidence to substantiate its contention with respect to the deductions claimed, and the Commissioner’s action in respect thereto is therefore approved.
The only question with respect to invested capital is the amount of the surplus, if any, of the New York branch of the business. The books were lost or destroyed and the taxpayer has established by competent evidence the contents thereof so far as material to this appeal.
We are satisfied from the evidence that the New York branch had a surplus for invested capital purposes for 1918 in the amount of $77,839.09 and for 1919 in the amount of $55,243.11, as claimed by the taxpayer. These amounts should be added to the invested capital found by the Commissioner for the respective years.
